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IN THE UNITED STATES BANKRUPTCY CoUR<:lj_;_‘ 1 j il _; -:`:,
FoR THE DISTRICT oF CoLoRAl)o ` ~ ‘ ' ~ ‘ t

In re: Bankruptcy No. 10-30894 SBB
Chapter 7

GARY DAVID HAUCK, XXX-XX-3 149

BRENDA KAY HAUCK, XXX-XX-0812 Adversary Proceeding No.

Debtors, lO-01888-SBB

v.

STEPHANIE M. MARTIN,
Plaintiff,

vs.

GARY DAVID HAUCK, and
BRENDA KAY HAUCK.
Defendants.

 

PLAINTIFF’S RESPONSE TO MOTION FOR SUMMARY JUDGMENT
RE: lSSUE OF NONDISCHARGEABILITY

 

Plaintiff, Stephanie M. Martin, by and through her counsel, Murray & Damschen, P.C.,
and hereby respectfully responds to the Defendants’ Motion For Summary Judgment Re: Issue
Of Nondischargeability:

I. INTRODUCTION

In their Motion, Debtors Gary D. Hauck and Brenda Hauck assert that the stipulated
judgment entered in the underlying state court action (“State Action”) is not entitled to preclusive
` effect with regard to the issue of nondischargeability of PlaintifF s claims pursuant to ll U.S.C.

Sections 523(a)(2) and (a)(4). For the reasons set forth below, as well as those outlined in her

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Motion, Plaintiff respectfully submits that her claims are exempt from discharge under the
statutory provisions in question
II. ARGUMENT

In their Motion, Debtors rely primarily on the case of ln re Dormell, 2011 WL 2294186
(Bankr. D. Colo. June 8, 2011) in asserting that the requirements for preclusive effecthave not
been met. A review of the Courts’ analysis, however, demonstrates that In re Donnell is
distinguishable from the instant case. As a threshold matter, the Court in In re Donnell evaluated
the issue of nondischargeability under claim preclusion, or res judicata, rather than collateral
estoppel, or issue preclusion. The Court noted that the requirement under claim preclusion of
identity of parties had not been established as the defendant was not a party to the underlying
arbitration proceeding The Court in In re Donnell then went on to note that the settlement of the
underlying arbitration proceeding Was not made into a formal arbitration award or judgment of
any kind; as a result, the “final judgment” requirement for claim preclusion had not been
satisfied

In their Motion, Debtors assert that Plaintiff’s reliance upon In re Sukut, 357 B.R. 834
(Bankr. D. Colo. 2007) and In re Riggle, 389 B.R. 167 (Bankr. D. Colo. 2007) is misplaced in
that these cases involved default judgments rather than stipulated judgments Debtors’ assertion
is Without merit. In her Motion, Plaintiff cited In re Sukut and In re Riggle for the proposition
that, where the party seeking to apply collateral estoppell presents evidence that the parties
engaged in a “meaningful assessment of the facts” and then the defendant made a “conscious

choice not to contest the entry of judgment”, a court may appropriately find the issue was actually

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litigated Plaintiff submits that this general principle applies with equal force regardless of
whether a judgment is entered by way of default or by way of stipulation Indeed, common sense
would suggest that application of this rule to default judgments would be more objectionable as,
in the default context, a defendant takes no affirmative steps in response to service of the
complaint, while in the consent judgment the defendant has made a conscious decision to allow a
judgment to enter against them.

Defendants contend in their affidavit filed with their motion that they never intended to
allow a judgment to enter against them on Plaintiffs fraud and civil theft claims asserted against
them in the underlying State Action. In their affidavit, Debtors state that “[W]e did not realize at
the time we signed the Stipulation that it contained the wording about the amount [of the
settlement] being allocated only to those two claims.” Affidavit para. 4. Regardless of who
drafted the handwritten Stipulation,1 it is inconceivable that Debtors did not realize what was
stated in the one~page stipulation, particularly when they were represented at the mediation by

their counsel, Joyce Bergman; ,indeed, Ms. Bergman herself signed the stipulation Having been

 

represented by competent legal counsel and having themselves agreed to the language contained
in the Stipulation, Debtors cannot now be permitted to argue that they didn’t understand what
they were signing

In addition to asserting that they did not read the specific wording of the Stipulation

before they signed it, Debtors assert that they “would have never agreed to any settlement of the

 

1The handwritten Stipulation was in fact prepared by counsel for Plaintiff.

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case that would have forced us to give up our rights to file for bankruptcy or to have the
judgment discharged in bankruptcy.” Affidavit para. 6. By agreeing - with the assistance of
counsel - to allow judgment to enter against them on two claims which are not dischargeable in
bankruptcy, and by failing to preserve in the Stipulation their right to seek a discharge in
bankruptcy, Debtors clearly engaged in a “meaningful assessment” of the facts and made a
“conscious choice” not to contest the entry of judgment In re Sukut, supra,' In re Riggle, supra
CONCLUSION

For the reasons set forth above, Plaintiff respectfully submits that there is no genuine
issue of material fact and that she is entitled to judgment as a matter of law. Debtors, assisted by
counsel, clearly engaged in a “meaningful assessment” of the facts and made a “conscious
choice” to allow judgment to enter against them in the State Action. Inasmuch as the
requirements for issue preclusion under Colorado law have been met, Plaintiff is entitled to an

order pursuant to FRCP 56 declaring that Plaintiff’s claims are exempt from discharge under 11

U.S.C. Sections 523(a)(2) and (a)(4).

Respectfully submitted this 13th day of September, 2011.

 

 

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CERTIFICATE OF SERVICE

I hereby certify that I served the foregoing document by transmitting a true copy thereof
via USPS to the following on this 13th day of September, 2011.

Kerri J. Atencio, Esq.
ROBERTS, LEVIN, ROSENBERG

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Original signature '1`.
on file at the law firm of Murra & Damschen P.C.

 

 

